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                         Exhibit 4
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---------- Forwarded message ---------
From: Randy Allmon <randy.allmon@gmail.com>
Date: Tue, May 21, 2019 at 10:15 AM
Subject: Fwd: Mortgage Deed
To: Annelise Pedersen <annelisemp@hotmail.com>




---------- Forwarded message ---------
From: Ron Anderton <RonA@aspireleaseandfactor.com>
Date: Wed, May 17, 2017 at 8:48 AM
Subject: Mortgage Deed
To: Randy Allmon <randy.allmon@gmail.com>


Randy,

This is the deed to be filed with county recorder for the promissary note. Are there any changes you would like me to
make?

Thank You,



--



Ron Anderton
VP Finance

Aspire Lease and Factor LLC




tel. 949.478.2670

rona@aspireleaseandfactor.com


                                                           1
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http://www.aspireleaseandfactor.com




ACHTUNG!


Everyone thinks these email disclosures are lame, and sender is no exception. Somehow legal counsel always advises including a silly disclaimer, yet it is
questionable on whether doing so has ever helped anyone. To provide extra protection, this warning is extra silly. Regardless, please be aware that the
contents of this email (and any attachments) are private and are intended to stay private, and may contain confidential or privileged information. Sharing
private information wasn’t nice in kindergarten, and it is no better now that you are supposedly more mature. If you received this communication in error,
please promptly notify the sender then promptly delete the contents of the email.




The sender of this email engages in commercial lending services as provided by law. Clearly, sender is not engaged as your attorney, accountant, tax advisor,
investment adviser, broker, consumer banker, real estate agent, medical doctor, psychologist or lover. If you need to be told any of that, you have no
business engaging in sophisticated transactions for qualified individuals: go play Angry Birds instead. No solicitation or offer to sell/sale or offer to buy/buy is
made by herein. Written or verbal communication received from sender are intended for negotiation purposes only, may contain legal puffery, and are not to
be relied on unless contained in writing and within a formal contract properly identified as such. Upon receipt of this communication, recipient acknowledges
receipt and acceptance of this warning and disclaimer, blah blah blah. Recipient warrants they have been provided by Aspire Lease and Factor LLC their
statutory, case and common law declarations, which discuss worse case scenarios, etc.,
from: http://www.AspireLeaseandFactor.com/DlSCL0SURES2Ol62460laspire. Jurisdiction = UT. (c) 2016-2017. Sender is responsible only for his actions and
words; get it directly from the horse’s mouth. Be nice to your mother; she may be the only one that loves you. Feed the children. Please consider the
environment before printing this email, especially this lousy, verbose disclaimer. Now, be good and go have a nice day.




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                                  MORTGAGE - Short Covenant

    THIS INDENTURE, Made the 17th day of May, in the year of our Lord 2017, between Ron Anderton of, 1356
Riley Dr, Payson, County of Utah, State of Utah, the party of the first part, and Randy Allmon of, 609 NW 82 nd St,
Seattle, County of King, State of Washington, the party of the second part,

     WITNESSETH: That the said party of the first part, for and in consideration of the sum of Twenty-Five Thousand
Dollars ($25,000.00) lawful money of the United States of America, does by these presents GRANT, BARGAIN,
SELL and CONVEY, unto the said party of the second part, and to his heirs and assigns FOREVER, all that certain
real property situate in the County of Bonneville, and State of Idaho, and bounded and particularly described as
follows, to-wit:

    Parcel Address: 733 BARNWOOD DR
    Parcel City, ST, ZIP: AMMON, ID, 83406
    Legal Description: LOT 10, BLOCK 12, CENTENNIAL RANCH # 13 NE1/4, SEC 23, T 2N, R 38
    Parcel Number: RPB3743012010O


together with the tenements, hereditaments and appurtenances hereto belonging or in anywise appertaining.
THIS GRANT is intended as a mortgage to secure the payment of certain promissory note of even date herewith,
executed and delivered by the said party to the said party of the second part;
     AND THESE PRESENTS SHALL BE VOID if such payment be made. But in case default shall be made in the
payment of said principal sum of money, or any part thereof, or the interest thereon, as provided in said note, or if
default be made in the performance of any of the covenants, conditions or agreements herein contained, then it shall
be optional with the said party of the second part, his executors, administrators or assigns, to consider the whole of
said principal sums expressed in said note as immediately due and payable; and immediately to enter into and upon
all and singular the above described premises, and to sell and dispose of the same according to law, and out of the
money arising from such sale to retain the principal and interest which shall then be due on said promissory note,
together with the costs and charges of foreclosure suite, including attorney’s fees and also the amounts of all such
payments of taxes, assessments, encumbrances, or insurance as may have been made by said party of the second part,
his heirs, executors, or assigns, with the interest on the same, rendering the overplus of the purchase money (if any
there shall be) unto the said party of the first part, his heirs, executors, administrators or assigns.

IT WITNESS WHEREOF, The said party of the first part has hereunto set his hand and seal the day and year first
above written.

SIGNED, SEALED AND DELIVERED IN PRESENCE OF




                                                                                                               [Seal]



                                                                                                               [Seal]




State of ____________________________
                                               ss.
County of __________________________


On this _____ day of ______________________, 20____, before me, the undersigned, a Notary Public, in and for
said State, personally appeared _____________________________________________________________ known to
me, and/or identified to me on the basis of satisfactory evidence, to be the person(s) whose name is/are subscribed to
the within instrument and acknowledged to me that he/she/they executed the same.

WITNESS MY HAND AND OFFICIAL SEAL                                                    (SEAL)



Notary Public
Residing at: __________________________________
Commission Expires: ___________________________
